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                                                             AUSA:       Frances Lee Carlson              Telephone: (313) 226-9696
AO 91 {Rev. 11/11) Criminal Complaint             Special Agent:         Mark E. Davis. ATF               Telephone: (818) 265-8034

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                 Eastern District of Michigan
United States of America
    v.
James McGhee                                                               Case No. 2:20-mj-30418
John Steven Tolbert                                                                 Judge: Unassigned,
Kenyetta Nicole Colston
                                                                                    Filed: 10-06-2020 At 11:44 AM
                                                                                    SEALED MATTER (krc)




                                                   CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

      On or about the date(s) of          August 261 2020 to September 21 2020   in the county of ___....:W..:..;a""'y.;.;n;.;;.e ___ in the
             m:....-__ District of
---=Eas=taaaea.a                           Michigan        • the defendant(s) violated:
               Code Section                                             Offense Description
21 use. Sections 841(a)(l) and 846                          Conspiracy to Distribute a Controlled Substance




         This criminal complaint is based on these facts:




[lJ Continued on the attached sheet.


                                                                                   Mark E. Davis, Special Agent. ATF
                                                                                              Printed name and title
Sworn to before me and signed in my presence
and/or by reliable electronic means.

     October 6, 2020
Date:---------                                                                                  Judge 's signawre

City and state: Detroit. Michigan 48226 Bay City, Michigan
                XXXXXXXXXXXXXXX                                                    Patricia T. Morris. U.S. Magistrate Judge
                                                                                              Printed name and title
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       October 6, 2020
